PRoB.12
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2:02CR20303-01

UNITED STATES DISTRICT COURT
for

WESTERN DISTRICT OF TENNESSEE

U.S.A. vs. RICKS MASON` ]II Docket No.

 

Petitien on Probation and Supervised Release

COMES NOW Willie S. Williams Jr. , PROBATION OFFICER OF THE COURT presenting an
official report upon the conduct and attitude of Ricks Mason III , Who was placed on supervision by the
Honorable Bernice B. Donald sitting in the Court at Memphis, TN , on the_l_l“_‘_ day of Lug, 20@, who fixed the
period of supervision at two 121 years , and imposed the general terms and conditions theretofore adopted by the
Cotut and also imposed special conditions and terms as follows:

 

 

l . The defendant shall participate in the Home Detention program for a period of six (6) months. (Completed)
2. The defendant shall perform 250 hours of community service with inner city children
3. The defendant shall pay a $1,000.00 fine.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
(If short insert here; if lengthy write on separate sheet and attach)

Mr. Mason’s overall response to supervision has been satisfactory, with the exception being his failure to pay his
fine in lilli. Mr. Mason’s lack of stable employment is believed to be the primary reason for his inability to satisfy
this condition To date, a total of $300.00 has been paid toward the fine. The outstanding balance is $700.00.

PRAYING THAT THE COURT WILL ORDER that Mr. Mason’s Probation be allowed to terminate as
scheduled on June 12, 2005 , with the understanding that the United States Attorney’s Oflice will be responsible for
the continued collection of the fine.

ORDER ()F COURT

Considered and mde thisZQ,day
o_f 2{)@, and ordered filed
and de a part of the records in the above

U.F. District Judge Bernice B. Donaldk

Respectfully,

‘winie s. Winimé;/Jr. b
Senior United States Probation Offlcer

Place: Memphis. Tennessee

Date: June 8. 2005

T'his document entered on the docket sheet ' compliance
with mile 55 and/or 32(b} FHCrP on é-' h 365

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 50 in
case 2:02-CR-20303 vvas distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

 

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Honorable Bernice Donald
US DISTRICT COURT

